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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                 v.                                  Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                 Defendant.


                  GOVERNMENT’S NOTICE CONCERNING MOVIE CLIP

       The Indictment alleges that defendant Roger J. Stone, Jr. obstructed a congressional

proceeding and engaged in witness tampering by pressuring Person 2 to testify falsely. Among

other things, the Indictment alleges that Stone did so by invoking a scene from The Godfather

Part II, with which both Stone and Person 2 were familiar. In that scene, a witness is persuaded

to testify falsely before a congressional committee to avoid contradicting another witness’s false

testimony. The government accordingly moved to admit a short clip from that film into evidence,

so that the jury could view the very scene that Stone repeatedly invoked in his communications

with Person 2.

       At the September 25, 2019, pretrial conference, the Court deferred ruling on that motion

and directed the parties to discuss whether there is a mutually-agreeable stipulation that would

describe that film scene. Although the government respectfully believes that a written stipulation

is a poor substitute for the actual scene that Stone and Person 2 were referencing, the government

proposed a stipulation to the defense that describes the scene. The defense rejected the stipulation

and declined to offer any changes or to propose a stipulation of its own. The defense took the

position that the only evidence the government should be permitted to introduce on this point is

the testimony of Person 2 about his understanding of Stone’s references to the scene.
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       In the government’s view, this confirms the importance of playing the short scene for the

jury. That scene played a direct part in the very obstructive acts charged in this case. The question

is not just how Person 2 interpreted Stone’s references to the scene, but what Stone intended by

them. The evidence of Stone’s intent when referencing this scene is not limited to Person 2’s

subjective understanding or recollections but also includes the scene itself, where a congressional

witness succumbs to pressure and speaks the lines that Stone quoted to Person 2.

       The content of this scene is an objective fact, and the best way for the jury to understand

Stone’s references is to watch the very scene with which Stone and Person 2 were both familiar.

In contrast to the use of coded language, for example, a speaker’s reference to a film scene known

to both parties conjures that scene in both parties’ minds. Although any witness who has viewed

the scene can attempt to describe it for the jury, the film clip is the best evidence, and in some

sense the only evidence, of the common reference point.              Neither party to the critical

communications understood references to the scene in light of a description (or stipulation), but

rather from having watched that particular film sequence. Playing the scene itself also avoids a

witness—or witnesses—having to characterize aspects of the scene, including dialogue,

expressions, actions, and camera work, that convey meaning. That is particularly important here,

because critical elements of the scene are non-verbal, with relevant meaning communicated

visually. In several key moments where Pentangeli succumbs to pressure and testifies falsely,

including some quoted by Stone in his messages to Person 2, the film shows Pentangeli’s facial

expressions, shows Pentangeli looking over at his brother and Corleone, or shifts back and forth

between Pentangeli, his brother, and Corleone. Although not captured in dialogue and difficult to

describe with precision, the import of these visual cues is unmistakable.




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       Stone’s explanation(s)—in public and to this Court—for referencing the scene in his

communications with Person 2 underscore the need for the jury to view that scene for itself. See

Doc. 156, at 4-5 (quoting interviews where Stone claimed he was merely asking Person 2 to do an

impression); Doc. 171, at 3, 7 (making similar claims to the Court). The defense’s refusal to agree

to a stipulation regarding the content of the scene and its insistence that the government present

evidence on this point only through Person 2’s testimony is a clear effort to facilitate the defense’s

argument that Stone had innocent reasons for referencing and quoting this scene and that any

malign interpretation is a product of Person 2’s imagination. That argument is belied by the film

clip itself—relevant, objective, and intrinsic evidence that is probative of Stone’s intentions in

sending the messages.

       Contrary to the defense’s claim, playing the short film clip raises little risk of unfair

prejudice. The scene does not contain violence. The government does not plan to argue that Roger

Stone is an organized crime leader. And it is not unfairly prejudicial to admit evidence of the very

charged conduct, even if that conduct includes matters that are distasteful or dramatic. See United

States v. Gartmon, 146 F.3d 1015, 1020-1021 (D.C. Cir. 1998); see, e.g., United States v. Smith,

749 F.3d 465, 496-497 (6th Cir. 2014) (copies of The Boiler Room given to employees). If

anything, playing the anodyne scene for the jury mitigates the risk of jurors—some of whom may

have watched the film and may have varied recollections—wondering if a verbal account is

concealing other misconduct.

          At the September 25 hearing, the Court raised a question, not urged by the defense,

whether the film clip might be treated by the jury with undue importance and thereby distract or

mislead the jury. The government respectfully does not believe that this concern warrants

excluding this relevant evidence under Rule 403. Although a film clip may in some sense be



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attention grabbing, this trial will involve testimony by or about a number of high-profile events

and individuals including the 2016 presidential election, WikiLeaks, and the campaign of the

sitting President of the United States. And, as the parties recently learned, the trial exhibits will

now include audio recordings of Stone’s testimony to Congress—recordings of some of the very

acts at issue. The government therefore does not believe that a short film clip is likely to be given

such undue attention as to risk unfair prejudice, cause the jury to “confus[e] the issues,” or

otherwise “mislead[] the jury.” See Fed. R. Evid. 403 (bases on which a court may exclude

relevant evidence).

       In any event, such risks do not come close to substantially outweighing the probative value

of that clip. The D.C. Circuit has correctly explained that Rule 403 “does not generally require

the government to sanitize its case” or “to tell its story in a monotone.” Gartmon, 146 F.3d at

1020. That is what a verbal description or written substitute would tend to do. In particular, “the

balance [under Rule 403] should generally be struck in favor of admission when the evidence

indicates a close relationship to the event charged,” much as it does here. Id. at 1021; see, e.g.,

Smith, 749 F.3d at 496-497. As discussed, the short film clip has significant probative value

because the clip itself is the common reference point between the two parties to the critical

communications. Additionally, as the Court knows, any risk of prejudice or the jury’s giving

undue weight, attention, or otherwise to this short film clip can be further addressed with an

instruction from the Court. See, e.g., United States v. Monsalvatge, 850 F.3d 483, 496 (2d Cir.

2017); United States v. Jayyousi, 657 F.3d 1085, 1108 (11th Cir. 2011).

       The government understands and appreciates the Court’s efforts to zealously guard the

seriousness of these proceedings. The government takes seriously its duty to do the same. This

particular piece of evidence formed a critical part of the obstruction and witness tampering charged



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in the Indictment. And the government respectfully believes that the film clip therefore must be

admitted.



                                                   Respectfully submitted,

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